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1 UNITED STATES DISTRICT COURT

2 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
3 SOUTHERN DIVISION

4

5 KASEY D. ALVES,

6 Plaintiff,

7 VS. CAUSE NO.: 1:06cv912 LG-JMR

8 HARRISON COUNTY MISSISSIPPI, BY AND
THROUGH THE BOARD OF SUPERVISORS;

9 HARRISON COUNTY SHERIFF'S DEPARTMENT ;
SHERIFF GHORGE PAYNE, JR.; AND,

10 HEALTH ASSURANCE, LLC.,

11 Defendants.
12
13 DEPOSITION
14 OF
15 WILLIAM MARTIN
16 Taken on behalf of the Plaintiff
17 1:41 p.m., Wednesday, March 12th, 2008
18 before
19 Lisa H. Brown, CSR #1166
20
21
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23 COAST-WIDE REPORTERS
Court Reporters
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WILLIAM MARTIN,
Having been produced and first duly sworn, was
examined and testified as follows:
EXAMINATION
BY MR. PRINGLE:
QO. Please state your name.
A. William Martin.
Q. Mr. Martin, you're currently a member of the
Board of Supervisors --
A Yes.
Q -- for Harrison County?
A Yes.
Q. You're currently the president of the Board?
A Yes.
Q What years have you been serving on the
Board?
A Since 1999, through the present.
Q. You're also a licensed practicing attorney?
A Yes.
Q. And, at one time, you were an Assistant

District Attorney?

A. Correct.
Q. What years were you Assistant District
Attorney?

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A. 1987, and 1989 through 19- -- April of 1996.

Q. As a member of the Board of Supervisors, what
role does the Board have in the management of the
Harrison County Detention Center?

A. Appropriations.

Q. Any others?

A. No.

Q. Let me show you Exhibit 1. It's a Consent
Judgment, January 12, 1995, from the U.S. District
Court. Have you seen this before?

A. Yes.

Q. Have you had an opportunity to review it and
read it before?

A. Before, I have. I haven't read it recently.

OQ. Yeah, okay. And you're aware that one of the
Defendants in this case was Harrison County,
Mississippi?

A. Yes, .

Q. And you're aware that basically the judgment

. requires certain compliance with the agreement

concerning the Harrison County jail and the conditions

there?
A. Yes,
Q. And what does the Board of Supervisors do to

ensure compliance with this Consent Judgment?

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being trained properly.
Q. Did the sheriff's department ever submit
their training program to the Board?
A. No. But, I mean, I don't Know what -- even

had they submitted it to me, I don't know how the
sheriff's office or the jailers are supposed to be
trained, so I would just have been reading, basically.
I mean, I don't know the day-to-day operations of the
sheriff's department or the jailers or booking people
in or anything else, so submitting it to me really

wouitdn't have been of much benefit as far as I'm

concerned.
Q. Okay. Bottom of page two. It says, "The
morale of the staff was extremely low. Staff claimed

they are over worked."
Were you aware of that finding?

A. I wasn't aware of that finding, but I was
aware the staff -- that the morale of the staff was
extremely low. That was in 2006, the latter part of
2006.

Q. How were you informed of that or how did you
learn that?

A. Well, I'm a criminal defense attorney. [I
was aware of the Williams case and I knew that morale

after that case was extremely low. In fact, I thought

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it was low prior to that case, but that's because, I
mean, I spend a lot of time at the jail, not as a

Board of Supervisor but as an attorney.

Q. Are you still doing criminal defense work?
A. Of course.

Q. How long have you been doing that?

A. Since I left the District Attorney's office

in April of 1996.

Q. Go to page three. First paragraph, middle
of the page, it says, Dr. Cabana stated there were
approximately fifty-seven staff vacancies. Were you
aware of that finding?

A. I was not aware of that particular finding.
I did know that there were staff vacancies, but
everybody knew there were staff vacancies.

Q. Did you ever have any conversation with Mr.
Cabana, individually or at the Board meetings or
executive session, as to what was causing the staff
vacancies?

A. I know that -- of course, I have hada
conversation with Mr. Cabana in the Board meetings,
individually, at meetings at the jail, in regard to
staff vacancies and I knew -- I knew that the reason
was because, number one, morale; number two, the

Williams case had a lot to do with the morale; number

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1 A. Not until after the fact.

2 Q. That would've been after he was appointed

3 warden at the jail?

4 A. Yes.

5 Q. Look at the bottom of page three.

6 A. Okay.

7 Q. In the last paragraph it says, "Due to

8 inadequate staffing levels, poorly trained staff,

9 limited supervision, crowded conditions, failure to
10 follow established policies and procedures, inadequate
11 classification options and intake/release process that
12 is inefficient and ineffective, the Harrison County
13 Detention Center is neither safe nor is it secure."
14 Were you aware of that finding?
15 A. Not from this particular report, but I was
i6 aware of those conditions.
17 Q. You didn't need this report to tell you that?
18 A. No. Mr. Cabana was basically telling us

19 that every time he saw us, and we were taking actions
20 to try and correct that.
21 Q. Well, were you aware of these conditions
22 before Mr. Cabana was telling you about them?
23 A. No. I was aware -- let me put it like
24 this. I was aware of the staffing issues, okay. Let
25 me see what else this paragraph says. I was aware of

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out, ain't it?
Q. Okay. Did you ever have a chance to talk to

Sheriff Payne about his concerns about violence in the

booking area?

A. Prior to this or before this report?
QO. At any time. .
A. Yeah, prior to this. I haven't talked to

sheriff after this report. I haven't talked to the
sheriff -- I can't even remember the last time I
talked to sheriff. I know I talked to the sheriff
about my concerns about violence in the jail prior to
this report over a number of years.

Q. What were your concerns about it?

A. Well, periodically the Board received
written complaints from inmates that they were being
beaten. We turned those complaints over to the

District Attorney's office for investigation.

Q. You talked to the sheriff about your
concerns?

A. Yeah.

Q. What was his response to your concerns?

A. That they were working on it. That was the
purpose of -- one of the purposes of the Harrison

County Criminal Justice Coordinating Council was to

try and ~- everything was related back to

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